         Case: 16-35470, 01/31/2018, ID: 10745518, DktEntry: 49, Page 1 of 1
                                                                               FILED
                    UNITED STATES COURT OF APPEALS                             JAN 31 2018

                                                                         MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




PETRO STAR, INC.,                                No.   16-35470

              Plaintiff-Appellant,               D.C. No. 3:11-cv-00064-RRB
                                                 District of Alaska,
 v.                                              Anchorage

BP OIL SUPPLY CO. and BP
PRODUCTS NORTH AMERICA, INC.,                    ORDER

              Defendants-Appellees.


Before: GRABER, CLIFTON, and M. SMITH, Circuit Judges.

      Pursuant to the stipulation of the parties (Docket Entry No. 48), this appeal

is voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

costs and attorneys’ fees on appeal.

      A copy of this order shall serve as and for the mandate of this court.




       Case 3:11-cv-00064-RRB Document 226 Filed 01/31/18 Page 1 of 1
